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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTPaCT OF MONTANA
                                 BILLINGS DIVISION


TRACY CAEKAERT,and CAMILLIA
MAPLEY,
                                                       CV-20-52-BLG-SPW
                   Plaintiffs,
      vs.

                                                              ORDER
WATCHTOWER BIBLE AND TRACT
SOCIETY OF NEW YORK,INC., and
WATCH TOWER BIBLE AND TRACT
SOCIETY OF PENNSYLVANIA.,

                   Defendants.




      Before the Court is Defendant Watchtower Bible and Tract Society of New

York, Inc.'s Unopposed Motion for Modified Briefing Schedule. (Doc. 324).

WTNY moves for a modified briefing schedule as to its disclosed damages expert

and Rule 35 examiner Dr. Michael Btitz. The proposed schedule would allow

Plaintiffs to file any motions challenging Dr. Butz's testimony no later than August

2, 2024, and Defendants to file any responses no later seven days after, on August

9, 2024. (Jd. at 4). Reply briefs would not be allowed. {Id.),

      The Court denies the motion as to the proposed briefing schedule since it

would not give the Court enough time to review the briefing and determine the

proper resolution before trial, which is scheduled for August 12,2024. As such,the

Court will require any responses to be filed no later than August 5,2024. The parties
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